
Pierre Jean Jacques Renelique, as Assignee of BRANDON CARTIE, Appellant,
againstAmerican Transit Ins. Co., Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Ulysses Bernard Leverett, J.), entered December 11, 2013. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs. 
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint. 
Plaintiff billed for one unit of CPT code 99244 at $236.94 and one unit of CPT code 20553 at $600. Defendant defended this action on the ground that the fees sought exceeded the amounts permitted for those codes by the workers' compenCsation fee schedule. While plaintiff argues on appeal that the affidavit executed by defendant's coding expert "does not discuss anything specific whatsoever regarding [p]laintiff's claims," defendant also submitted an affidavit executed by its no-fault examiner, who described how the fees for the services at issue had been calculated by multiplying the appropriate "relative value" by the appropriate "conversion factor." Plaintiff's remaining argument with respect to the coding expert's affidavit and the specific argument made by plaintiff with regard to CPT code 99244 were not raised in the Civil Court, and are therefore not properly before this court.
With respect to plaintiff's final argument, which involves CPT code 20553, we find that defendant made a prima facie showing that it had used the assigned relative value for that code to calculate the sum to which plaintiff was entitled to be reimbursed. While plaintiff submitted a doctor's affidavit addressing CPT code 20553, the doctor's conclusion is based upon the unsupported allegation that CPT code 20553 is a "by report" code, meaning that it does not have a relative value. This allegation does not rebut defendant's proof that CPT code 20553 does have a relative value.
Accordingly, the order is affirmed. 

Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: October 13, 2016










